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  7
                                 UNITED STATES DISTRICT COURT
  8
                               CENTRAL DISTRICT OF CALIFORNIA
  9

 10
       ALIM VASQUEZ,                               Case No. 2:19-cv-04749
 11
                        Plaintiff,                 COMPLAINT FOR DAMAGES
 12
                                                   1. VIOLATION OF THE FAIR CREDIT
 13          v.                                    REPORTING ACT, 15 U.S.C. §1681 ET SEQ.
 14
       SWIFT FUNDS, LLC and
 15    TRANSUNION, LLC,                            DEMAND FOR JURY TRIAL
 16                     Defendant.
 17

 18
                                              COMPLAINT
 19
            NOW comes, ALIM VASQUEZ (“Plaintiff”), by and through her attorneys, WAJDA LAW
 20
      GROUP, APC (“Wajda”), complaining as to the conduct of SWIFT FUNDS, LLC (“Swift”) and
 21
      TRANSUNION, LLC (“TransUnion”) (collectively, “Defendants”), as follows:
 22

 23                                      NATURE OF THE ACTION

 24      1. Plaintiff brings this action seeking redress for Defendants’ violations of the Fair Credit
 25   Reporting Act (“FCRA”) pursuant to 15 U.S.C. §1681.
 26
 27

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                                                      1
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  1                                        JURISDICTION AND VENUE
  2      2. This action arises under and is brought pursuant to the FCRA. Subject matter jurisdiction is
  3
      conferred upon this Court by 15 U.S.C. §1681, 28 U.S.C. §§1331 and 1337, as the action arises
  4
      under the laws of the United States.
  5
         3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendants conduct business
  6
      in the Central District of California, and a substantial portion of the events or omissions giving rise
  7

  8   to the claims occurred within the Central District of California.

  9                                                 PARTIES
 10      4. Plaintiff is a consumer over 18-years-of-age residing in Los Angeles County, California,
 11
      which is located within the Central District of California.
 12
         5. Swift identifies itself as a third-party collection agency with its headquarters located at 927
 13
      Deer Valley Drive, Rolling Hills, California. Swift is in the business of collecting consumer debts
 14
      for others, including a debt allegedly owed by Plaintiff. Swift is a furnisher of information to the
 15

 16   major credit reporting agencies, including TransUnion.

 17      6. Defendant TransUnion is a Delaware limited liability corporation with its principal place of
 18   business located in Chicago, Illinois. TransUnion is regularly engaged in the business of
 19
      assembling, evaluating, and disbursing information concerning consumers for the purpose of
 20
      furnishing consumer reports and credit files to third parties bearing on a consumer’s credit
 21
      worthiness, credit standing, and credit capacity on a nationwide basis, including in the State of
 22

 23   California.

 24                                   PLAINTIFF’S BANKRUPTCY FILING

 25      7. In 2018, Plaintiff signed up for a gym membership at Gold’s Gym International, Inc.
 26   (“Gold’s”).
 27

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  1      8. Plaintiff subsequently fell behind on her monthly payments owed to Gold’s, thus incurring
  2   debt (“subject debt”).
  3
         9. While Plaintiff was in default, Gold’s transferred the subject debt to Swift for collection.
  4
         10. On October 25, 2018, Plaintiff filed a Chapter 7 bankruptcy petition in the United States
  5
      Bankruptcy Court, Central District of California, Case Number 2:18-bk-22160-BB (“bankruptcy”).
  6

  7      11. Schedule E/F of the bankruptcy petition contained the subject debt, and further listed

  8   Defendant as an entity to be provided with notice regarding the subject debt.

  9      12. On October 19, 2018, the Bankruptcy Noticing Center (“BNC”) served Defendant with
 10
      notice of Plaintiff’s Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines.
 11
         13. On January 28, 2019, the Bankruptcy Court entered an Order of Discharge in Plaintiff’s
 12
      bankruptcy case of all dischargeable debts, including the subject debt.
 13
         14. Defendant was served with the Order of Discharge on January 30, 2019.
 14

 15      15. Pursuant to 11 U.S.C. §727(b) and §524, the Order of Discharge invoked the protections of

 16   the discharge injunction, prohibiting any acts to collect upon the subject debt by Defendant.
 17      16. Plaintiff’s personal liability on the subject debt was extinguished via her bankruptcy
 18
      discharge, thus terminating any business and contractual relationship Plaintiff may have had with
 19
      Defendant or any subsequent owners of the subject debt.
 20
                                   INACCURATE CREDIT REPORTING AND
 21                            PLAINTIFF’S CREDIT DISPUTES TO TRANSUNION
 22
         17. In early 2019, Plaintiff applied for a Best Buy credit card but her application was denied as
 23
      a result of information in her credit report.
 24
         18. Consequently, Plaintiff pulled her credit reports to determine the source of the negative
 25

 26   reporting.

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  1      19. Much to her dismay, Plaintiff discovered that TransUnion and Swift were reporting the
  2   subject debt as in default, with a high balance, a past due amount, and post-discharge derogatory
  3
      information.
  4
         20. The reporting of the subject debt was inaccurate, incomplete, and materially misleading
  5
      because the subject debt was discharged in Plaintiff’s Chapter 7 bankruptcy and should be reporting
  6

  7   with a zero balance, a zero past due amount, and no post-discharge derogatory information.

  8            a. Plaintiff’s Dispute Letter to TransUnion

  9      21. On March 15, 2019, Plaintiff sent a written credit dispute letter to TransUnion. Specifically,
 10
      Plaintiff requested that TransUnion correct the Swift account, as it “was included in [her] case filing
 11
      and the payment status and balance need to be corrected.”
 12
         22. Plaintiff’s dispute letter further stated that “The balance, monthly payment, payment status,
 13
      past due amount, and remarks are all wrong and need to be updated…All of the above listed
 14

 15   accounts were closed and the monthly payment amount should be zero and I demand that my credit

 16   reports reflect that. Please send my dispute letter and the enclosures to each of the creditors listed
 17   above.
 18
         23. Plaintiff enclosed a copy of her bankruptcy discharge, her driver’s license and social
 19
      security card, and sent her dispute letter to TransUnion via certified mail, return-receipt requested.
 20
         24. Upon information and belief, Swift received notice of Plaintiff’s dispute letters and all
 21

 22   enclosed supporting documents from TransUnion within five days of TransUnion receiving

 23   Plaintiff’s dispute letter. See 15 U.S.C. §1681i(a)(2).

 24            a. TransUnion’s Failure to Correct Inaccurate Information in Plaintiff’s Credit File
 25      25. On March 27, 2019, TransUnion responded by failing to reasonably investigate Plaintiff’s
 26
      credit disputes. Specifically, while TransUnion sent Plaintiff results from its investigation, there
 27
      were no changes made with regard to the subject debt account.
 28
                                                         4
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  1      26. As illustrated below, TransUnion continued to report the subject debt as an open account
  2   that is “Past Due” with a balance of “$289”.
  3

  4

  5

  6

  7

  8      27. Despite receiving Plaintiff’s detailed dispute letter, TransUnion and Swift failed to report

  9   the Swift trade line as discharged in bankruptcy and failed to report that Plaintiff is disputing the
 10   reporting of the subject debt.
 11
         28. The reporting of the Swift trade line was patently inaccurate, incomplete, and created a
 12
      materially misleading impression that Plaintiff was delinquent and still personally liable on the
 13
      subject debt. However, Plaintiff was no longer personally liable on the subject debt by virtue of her
 14

 15   bankruptcy discharge.

 16                                         IMPACT OF
                          INACCURATE INFORMATION IN PLAINTIFF’S CREDIT FILES
 17
         29. As of today, TransUnion’s erroneous reporting of the Swift account continues to paint a
 18

 19   false and damaging image of Plaintiff. TransUnion and Swift have yet to update the Swift trade line

 20   to accurately reflect the discharged status of the subject loan.
 21      30. The entire experience has imposed upon Plaintiff significant distrust, frustration, distress,
 22
      and has rendered Plaintiff helpless as to her ability to regain a firm foothold on her creditworthiness,
 23
      credit standing, credit capacity, and her ability to move forward after her bankruptcy discharge.
 24
         31. The inaccurate and incomplete reporting of subject loan continues to have significant
 25
      adverse effects on Plaintiff’s credit rating and her ability to obtain financing because it creates a
 26
 27   false impression that Plaintiff still owes the subject loan, rendering Plaintiff a high-risk consumer

 28   and damaging her creditworthiness.
                                                          5
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  1       32. Ultimately, Plaintiff has desired to take advantage of credit opportunities, most notably
  2   applying for a Best Buy credit card, but has been denied because of Defendants’ failure to report
  3
      only accurate information about Plaintiff. Plaintiff was denied credit, and these credit decisions
  4
      were based in whole or in part on information obtained in a report from TransUnion.
  5
          33. As a result of the conduct, actions, and inaction of the Defendants, Plaintiff has suffered
  6

  7   various types of damages as set forth herein, including specifically, the loss of credit opportunity,

  8   time and energy expended meeting with her attorneys to enforce compliance with the Fair Credit

  9   Reporting Act, tracking the status of her disputes, monitoring her credit file, and mental and
 10
      emotional pain and suffering.
 11
          34. Due to the conduct of the Defendants, Plaintiff was forced to retain counsel to resolve the
 12
      erroneous credit reporting of the subject debt.
 13
                       COUNT I - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
 14
                                          (AGAINST SWIFT)
 15
          35. Plaintiff restates and reallages paragraphs 1 through 33 as though fully set forth herein.
 16
          36. Plaintiff is a “consumer” as defined by 15 U.S.C. §§1681a(b) and (c).
 17

 18       37. Plaintiff is a “person” as defined by 15 U.S.C. §1681a(b).

 19       38. Swift is a “furnisher of information” as defined by 15 U.S.C. §1681s-2 and a “financial
 20   institution” as defined by 15 U.S.C. §1681a(t).
 21
          39. At all times relevant, the above mentioned credit reports were “consumer reports” as the
 22
      term is defined by §1681a(d)(1).
 23
          40. Swift violated 15 U.S.C. §1681s-2(b)(1)(A) by failing to conduct an investigation with
 24

 25   respect to the disputed information after receiving requests for an investigation from TransUnion

 26   and Plaintiff.

 27

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                                                         6
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  1      41. Swift violated 15 U.S.C. §1681s-2(b)(1)(B) by failing to review all relevant information,
  2   namely Plaintiff’s discharge order and Plaintiff’s bankruptcy schedules, provided by TransUnion
  3
      and Plaintiff pursuant to 15 U.S.C. §1681i(a)(2).
  4
         42. Had Swift reviewed the information provided by TransUnion and Plaintiff, it would have
  5
      corrected the inaccurate designation of the subject debt, and transmitted the correct information to
  6

  7   TransUnion. Instead, Swift wrongfully and erroneously confirmed its inaccurate reporting without

  8   conducting a reasonable investigation.

  9      43. Swift violated 15 U.S.C. §1681s-2(b)(1)(C) by failing to report the complete results of the
 10
      investigation or reinvestigation of Plaintiff’s disputes with TransUnion.
 11
         44. Swift violated 15 U.S.C. §1681s-2(b)(1)(C)-(D) by failing to report the results of its
 12
      investigation or reinvestigation to TransUnion after being put on notice and discovering inaccurate,
 13
      incomplete, and misleading information with respect to the subject debt.
 14

 15      45. Swift violated 15 U.S.C. §1681s-2(b)(1)(E) by failing to modify, delete, or permanently

 16   block the inaccurate information from appearing and reappearing in Plaintiff’s credit files.
 17      46. Swift failed to conduct a reasonable investigation of its reporting of the subject debt, record
 18
      that the information was disputed, or delete the inaccurate information from Plaintiff’s credit files
 19
      within 30 days of receiving notice of Plaintiff’s disputes from TransUnion under 15 U.S.C.
 20
      §1681i(a)(1).
 21

 22      47. Despite the blatantly obvious errors in Plaintiff’s credit files, and Plaintiff’s efforts to

 23   correct the errors, Swift did not correct the errors or the trade line to report accurately and

 24   completely. Instead, Swift wrongfully furnished and re-reported the inaccurate, incomplete and
 25   misleading information after Plaintiff’s disputes to one or more third parties.
 26
         48. Moreover, Swift failed to report the subject debt as discharged in bankruptcy.
 27

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  1      49. A reasonable investigation by Swift would have confirmed the veracity of Plaintiff’s
  2   disputes, yet the inaccurate information remains in Plaintiff’s credit files.
  3
         50. Had Swift taken steps to investigate Plaintiff’s valid disputes or TransUnion’s requests for
  4
      investigation, it would have permanently corrected the erroneous, incomplete, and materially
  5
      misleading information regarding the subject debt. Plaintiff provided all relevant information to
  6

  7   support her valid disputes in her requests for investigation. Furthermore, Plaintiff’s bankruptcy

  8   information is public record that is widely available and easily accessible.

  9      51. By deviating from the standards established by the mortgage servicing industry and the
 10
      FCRA, Swift acted with reckless and willful disregard for its duty as a furnisher to report accurate
 11
      and complete consumer credit information to TransUnion.
 12
         WHEREFORE, Plaintiff, ALIM VASQUEZ, respectfully prays this Honorable Court for the
 13
      following relief:
 14
         a. Declare that the practices complained of herein are unlawful and violate the aforementioned
 15         statute;

 16      b. An order directing Swift to delete all of the inaccurate information from Plaintiff’s credit
            reports and credit files;
 17
         c. Award Plaintiff actual damages, in an amount to be determined at trial, for each of the
 18
            underlying FCRA violations;
 19
         d. Award Plaintiff statutory damages of $1,000.00 for each violation of the FCRA, pursuant
 20         to 15 U.S.C. §1681n;
 21      e. Award Plaintiff punitive damages, in an amount to be determined at trial, for the underlying
 22         FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o;

 23      f. Award Plaintiff costs and reasonable attorney’s fees as provided under 15 U.S.C. §1681n
            and 15 U.S.C. §1681o; and
 24
         g. Award any other relief as this Honorable Court deems just and appropriate.
 25

 26                       COUNT II - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                           (AGAINST TRANSUNION)
 27
         52. Plaintiff restates and realleges paragraphs 1 through 51 as though fully set forth herein.
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                                                        8
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  1       53. TransUnion is a “consumer reporting agency” as defined by 15 U.S.C. §1681a(f).
  2       54. TransUnion is a “consumer reporting agency that compiles and maintains files on
  3
      consumers on a nationwide basis” as defined by 15 U.S.C. §1681a(p).
  4
          55. At all times relevant, the above mentioned credit reports were “consumer reports” as that
  5
      term is defined by §1681a(d).
  6

  7       56. If a consumer notifies a credit reporting agency of a dispute concerning the accuracy of any

  8   item of credit information, the FCRA requires the credit reporting agency to reinvestigate free of

  9   charge and record the current status of the disputed information, or delete the item within 30 days
 10
      of receiving the dispute. 15 U.S.C. §1681i(a)(1)(A).
 11
          57. Plaintiff provided TransUnion with all relevant information and documentation in her
 12
      request for investigation and reinvestigation to reflect that she obtained a discharge and is no longer
 13
      liable for the subject debt.
 14

 15       58. Upon information and belief, TransUnion prepared Plaintiff’s consumer reports containing

 16   inaccurate, incomplete, and materially misleading information by reporting the subject loan with a
 17   balance greater than $0, when in fact Plaintiff had received a bankruptcy discharge, owed a $0
 18
      balance on the subject debt.
 19
          59. A simple review of the relevant documents submitted by Plaintiff would have confirmed
 20
      that Plaintiff had filed and was discharged in bankruptcy and was no longer liable on the subject
 21

 22   debt.

 23       60. TransUnion violated 15 U.S.C. §1681e(b) by failing to establish or to follow reasonable

 24   procedures to assure maximum possible accuracy in preparation of the consumer reports it
 25   furnished and refurnished regarding Plaintiff. On numerous occasions, TransUnion has prepared a
 26
      patently false, incomplete, and a materially misleading consumer report concerning Plaintiff.
 27

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   1   TransUnion had actual knowledge of Plaintiff’s bankruptcy discharge after it received Plaintiff’s
   2   detailed dispute letter outlining Plaintiff’s discharge.
   3
           61. TransUnion violated 15 U.S.C. §1681i(a)(1) by failing to conduct a reasonable investigation
   4
       to determine whether the disputed information was accurate and to subsequently delete or correct
   5
       the information in Plaintiff’s credit file.
   6

   7       62. Had TransUnion taken any steps to investigate Plaintiff’s valid dispute, it would have

   8   determined that subject debt was discharged in Plaintiff’s bankruptcy on January 28, 2019.

   9       63. TransUnion violated 15 U.S.C. §1681i(a)(2) by failing to provide notification of Plaintiff’s
  10
       dispute to Swift. Upon information and belief, TransUnion failed to include all relevant information
  11
       as part of the notice to Swift regarding Plaintiff’s dispute that TransUnion received from Plaintiff.
  12
           64. TransUnion violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all relevant
  13
       information that it received from Plaintiff and Swift with regard to the subject loan.
  14

  15       65. TransUnion violated 15 U.S.C. §1681i(a)(5) by failing to delete or modify the incorrect

  16   information that was the subject of Plaintiff’s dispute.
  17       66. TransUnion violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed information without
  18
       certification from Swift that the information was complete and accurate, and without sending notice
  19
       of the re-reporting to Plaintiff.
  20
           67. TransUnion violated 15 U.S.C. §1681c(f) by failing to notate that Plaintiff disputed the
  21

  22   reporting of the subject debt. TransUnion is required to notate each account that a consumer

  23   disputes in each consumer report that includes the disputed information.

  24       68. Since most of Plaintiff’s other accounts were reported as “$0 balance owed,” “included in
  25   bankruptcy,” or “discharged,” TransUnion should have investigated why the Swift trade line was
  26
       reporting anything other than a $0 balance amount.
  27

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                                                          10
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   1      69. Moreover, after Plaintiff’s written dispute, TransUnion had specific information related to
   2   Plaintiff’s bankruptcy case, and subsequent discharge, which included the subject debt.
   3
          70. TransUnion knew that the inaccurate designation of the subject debt on Plaintiff’s consumer
   4
       reports under the Swift trade line as delinquent, in default, and with a high balance owed after her
   5
       bankruptcy discharge would have a significant adverse effect on Plaintiff’s credit worthiness and
   6

   7   ability to receive a “fresh start” after completing her bankruptcy.

   8      71. Despite actual knowledge that Plaintiff’s credit file contained erroneous information,

   9   TransUnion readily furnished Plaintiff’s inaccurate, incomplete, and misleading report to various
  10
       financial institutions, thereby misrepresenting facts about Plaintiff and, ultimately, Plaintiff’s
  11
       creditworthiness.
  12
          72. The FCRA requires that the credit reporting industry implement procedures and systems to
  13
       promote accurate credit reporting.
  14

  15      73. By deviating from the standards established by the credit reporting industry and the FCRA,

  16   TransUnion acted with reckless disregard for its duties to report accurate and complete consumer
  17   credit information.
  18
          74. It is TransUnion’s regular business practice to continually report disputed information
  19
       without taking the required investigatory steps to meaningfully verify such information as accurate.
  20
          75. TransUnion’s non-compliance with the requirements of the FCRA is indicative of the
  21

  22   reckless, willful, and wanton nature of its conduct in maintaining Plaintiff’s consumer file and

  23   reporting Plaintiff’s credit information.

  24      76. TransUnion’s pattern of refusal to correct patently false information as mandated by the
  25   FCRA reveals a conscious disregard of the rights of Plaintiff.
  26
          77. As stated above, Plaintiff was significantly harmed by TransUnion’s conduct.
  27

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                                                         11
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   1          WHEREFORE, Plaintiff, ALIM VASQUEZ, respectfully prays this Honorable Court for
   2      the following relief:

   3      a. Declare that the practices complained of herein are unlawful and violate the aforementioned
             statute;
   4
          b. An order directing TransUnion to delete the inaccurate information from Plaintiff’s credit
   5         reports and credit files;
   6      c. Award Plaintiff actual damages, in an amount to be determined at trial, for each of the
   7         underlying FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o;

   8      d. Award Plaintiff statutory damages of $1,000.00 for each of the underlying FCRA violations,
             pursuant to 15 U.S.C. §1681n;
   9
          e. Award Plaintiff punitive damages, in an amount to be determined at trial, for the underlying
  10
             FCRA violations, pursuant to 15 U.S.C. §1681n;
  11
          f. Award Plaintiff costs and reasonable attorney’s fees as provided under 15 U.S.C. §1681n(3)
  12         and 15 U.S.C. §1681o(2); and

  13      g. Award any other relief as this Honorable Court deems just and appropriate.
  14
          Dated: May 30, 2019                      Respectfully submitted,
  15
                                                   By: /s/ Nicholas M. Wajda
  16                                               Nicholas M. Wajda
                                                   WAJDA LAW GROUP, APC
  17
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  19                                               Facsimile: (866) 286-8433
                                                   Email: nick@wajdalawgroup.com
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